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                          UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA


KERTRANKA GORDON-PARMS                                                      CIVIL ACTION

VERSUS                                                             NO. 24-575-JWD-EWD

HEATHER DENTON, ET AL.


                                            JUDGMENT



       For written reasons assigned,

       IT IS ORDERED, ADJUDGED, AND DECREED that judgment is hereby entered,

dismissing without prejudice all claims of Plaintiff Kertranka Gordon-Parms asserted in this

matter for failure to state a claim under 28 U.S.C. § 1915(e).

      Signed in Baton Rouge, Louisiana, on May 28, 2025.




                                                S
                                       JUDGE JOHN W. deGRAVELLES
                                       UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA
